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		OSCN Found Document:IN RE FEE SCHEDULE FOR STATE BD. OF EXAMINERS OF CERTIFIED CTRM. INTERPRETERS

					

				
  



				
					
					
						
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				IN RE FEE SCHEDULE FOR STATE BD. OF EXAMINERS OF CERTIFIED CTRM. INTERPRETERS2019 OK 50Decided: 06/24/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 50, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

IN RE: FEE SCHEDULE FOR THE STATE BOARD OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS
ORDER
PURSUANT TO the provisions of 20 O.S. § 1707, the Court hereby approves and authorizes the attached Fee Schedule for the State Board of Examiners of Certified Courtroom Interpreters. This fee schedule shall become effective June 28, 2019, and it shall supersede the Fee Schedule issued on June 20, 2016, by administrative order No. SCAD-2016-48.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 24TH DAY OF JUNE, 2019.
/s/CHIEF JUSTICE
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert and Combs, JJ., concur;

&nbsp;
Fee Schedule of the Oklahoma State Board of Examiners
of Certified Courtroom Interpreters


Fees for Interpreter Credentialing


Application for Provisional Status

$100.00


Application for Certification by Reciprocity

$100.00


Application to Become a Registered Courtroom Interpreter -- Full Program (Fee includes enrollment in one Two-Day Orientation Training, one Written Examination and one Basic Proficiency Assessment)

$200.00


Application to Become a Registered Courtroom Interpreter -- Application Only

$100.00


Background Check

$15.00 (or actual cost, whichever is greater)


Two-Day Orientation Training

$100.00


Court Interpreter Written Examination

$50.00


Basic Proficiency Assessment -- Written Translation Test

$50.00


Basic Proficiency Assessment-- Oral Proficiency Interview

$75.00


Oral Examination (full exam must be taken initially - separate fees apply to re-tests)

Consecutive

$90.00


Simultaneous

$80.00


Sight Translation

$80.00


TOTAL FOR COMPLETE EXAM

$250.00


Fees for Certificate Renewal and Continuing Education


Annual Certificate Renewal Fee
Annual certificate renewal shall become effective on January 1, 2016

$30.00


Delinquent Payment Fee
Assessed for failure to renew certificate on or before February 15

$100.00


Continuing Education Penalty Fee
Assessed for failure to obtain CE hours on or before December 31 of the year in which they are required
Annual CE requirements shall become effective on January 1, 2016

$100.00


Continuing Education Suspension Fee

$100.00


Reinstatement After Administrative Revocation or Inactive Status

$100.00


Continuing Education Courses; Training Classes; Workshops -- a reasonable Registration Fee may be charged for education and training events sponsored by the Board or the Administrative Office of the Courts









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